           Case 2:17-rd-00094-WTM Document 1 Filed 07/20/17 Page 1 of 1




THE SUPREME COURT OF WASHINGTON

IN RE:                                                                    ORDER
                                                                                    JU
                                                                     BAR NO.45989 WASHINGTO|^TATE
                                                                                              SUPREME COURT
ZENOVIA NICOLE LOVE,
                                                                    Supreme Court No.
ATTORNEY AT LAW.                                                         201,658-8




         This matter came before the Supreme Court on the Washington State Bar Association
(WSBA)Disciplinary Board's order in the matter ofZenovia Nicole Love, wherein the
Disciplinary Board adopted the Findings of Fact, Conclusions of Law and Hearing Officer's
Recommendation of disbarment. The Court has reviewed the Disciplinary Board's
Recommendation and the Findings of Fact, Conclusions of Law and Hearing Officer's
Recommendation and the Court has determined unanimously that the recommendation should be
approved. Now,therefore, it is hereby
         ORDERED:

         Zenovia Nicole Love is disbarred from the practice of law. Pursuant to ELC 13.2, the
effective date of disbarment is seven days from the date of this order. Costs and expenses,
pursuant to ELC 13.9, as approved by the disciplinary board, and restitution, pursuant to ELC
13.7, as approved by the disciplinary board, will be paid by Ms. Love.
         DATED at Olympia, Washington, this l^day of                             ,2017.
                                              For the Court




                                              CHIEF JUSTICE
